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                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
IN RE:     Angela Michelle Scott, Debtor                          Case No. 17-04706-JAW
                                                                           CHAPTER 13

                                             NOTICE
       Morgan and Morgan has filed papers with the court to be Employed as Special Counsel.
       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.)
       If you do not want the court to grant the Motion, or if you want the court to consider your
views on the Motion, then on or before 21 days, you or your attorney must:
       File with the court a written request for a hearing at:

       U.S. Bankruptcy Clerk
       U.S. Bankruptcy Court
       P.O. Box 2448
       Jackson, MS 39225-2448

        If you mail your request to the court for filing, you must mail it early enough so the court
will receive it on or before the date state above.
        You must also mail a copy to Morgan & Morgan’s attorney:

       The Rollins Law Firm, PLLC
       P.O. Box 13767
       Jackson, MS 39236
       (601) 500-5533

       If you or your attorney do not take these steps, the court may decide that you do not
 oppose the relief sought in the motion and may enter an order granting that relief, which shall
 sustain this Application.
Date: February 6, 2023.       Signature: /s/ Jennifer A Curry Calvillo
                                             Thomas C. Rollins, Jr. (MSBN 103469)
                                             Jennifer A Curry Calvillo (MSBN 104367)
                                             The Rollins Law Firm, PLLC
                                             P.O. Box 13767
                                             Jackson, MS 39236
                                             601-500-5533
                                             trollins@therollinsfirm.com
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                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
IN RE:    Angela Michelle Scott, Debtor                         Case No. 17-04706-JAW
                                                                         CHAPTER 13

             APPLICATION TO BE EMPLOYED AS SPECIAL COUNSEL
       COMES NOW, Morgan & Morgan (“Applicant”), by and through undersigned counsel,
and pursuant to 11 U.S.C. §327(e) and F.R.B.P. 2014(a), files this Application to be Employed
Special Counsel in the above Chapter 13 bankruptcy case and in support hereof would show unto
the Court the following, to wit:
   1. That Morgan & Morgan represent that in the administration of the above referenced
      Debtors’ estate, it has been determined necessary to employ Special Counsel to provide
      assistance with the prosecution of the Debtor’s personal injury claim. That debtor signed
      a fee agreement with Morgan and Morgan on 1/20/2023.

   2. That the Applicant desires to be employed to render services in connection with the claim
      as Special Counsel for the Debtor.

   3. That it would be in the best interests of the estate that said firm be employed.

   4. An attorney for Morgan & Morgan has attached his affidavit hereto, stating that the firm
      is a disinterested party to Debtor’s estate. See Exhibit “A”.

   5. That in consideration of said representation, Morgan & Morgan will receive a
      contingency fee and reimbursement of costs, the total of which will not exceed 50% of
      the total recovery.

   6. That the trustee has completed distributions and the plan has paid 100% to unsecured
      creditors. That this claim should be abandoned from the estate and the Debtor should be
      allowed to settle this matter without further approval of the bankruptcy court.

        WHEREFORE PREMISES CONSIDERED, Applicant prays that the Court enter an
Order authorizing the employment of Morgan and Morgan as Special Counsel for the Debtor
under the provisions set forth herein and by Order of this Court.

                                             Respectfully submitted,

                                             Morgan & Morgan, APPLICANT

                                             BY:
                                              /s/ Jennifer A Curry Calvillo
                                             Thomas C. Rollins, Jr. (MSBN 103469)
                                             Jennifer A Curry Calvillo (MSBN 104367)
                                             The Rollins Law Firm, PLLC
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                                             P.O. Box 13767
                                             Jackson, MS 39236
                                             601-500-5533
                                             trollins@therollinsfirm.com


                                CERTIFICATE OF SERVICE
I, Thomas C. Rollins, Jr., do hereby certify that a true and correct copy of the above Motion to
was forwarded on February 6, 2023, to the Debtor’s attorney, case trustee and U.S. Trustee as
indicated in the “21 day notice” that accompanies this Application.


                                             /s/ Jennifer A Curry Calvillo
                                             Jennifer A Curry Calvillo
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                                CERTIFICATE OF SERVICE

       I, Thomas C. Rollins, Jr., do hereby certify that a true and correct copy of the above and
foregoing Notice and Application were forwarded on February 6, 2023, to:

By USPS First Class Mail:

       Debtor

By Electronic CM/ECF Notice:

       Case Trustee

       U.S. Trustee


                                             /s/ Jennifer A Curry Calvillo
                                             Jennifer A Curry Calvillo
